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 NOT FOR PUBLICATION

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
 _________________________________________
 VINCENT MCGRUDDEN,                        :
                                           :
             Plaintiff,                    :   Civ. No. 14-3532-RBK-AMD
                                           :
       v.                                  :   OPINION
                                           :
 UNITED STATES OF AMERICA, et al.,         :
                                           :
             Defendants.                   :
 _________________________________________ :

 ROBERT B. KUGLER, U.S.D.J.

        This matter is before the Court on a motion by Defendants Lieutenant Joseph Anderson

 and the United States of America (collectively, “Defendants”) for summary judgment. Pro Se

 Plaintiff Vincent McGrudden’s Amended Complaint brings claims against Defendant Anderson

 pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388

 (1971) for violations of his rights under the Eighth Amendment and against the United States

 pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b), 2401(b), 2671-80, for

 assault and battery. For the reasons expressed below, the Court will grant Defendants’ motion

 for summary judgment.

 I.     BACKGROUND

        On August 31, 2012, while an inmate at FCI Ft. Dix, Plaintiff exchanged his ID card for a

 basketball in his housing unit. Am. Compl., Ex. A. Officer James-Devon Darville, who usually

 works in the business office, was covering the housing unit that day. Taylor Decl., Ex. B,

 Darville Dep. 6:6-12, 13:12-16:20. Officer Darville signed out the basketball to Plaintiff.




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 Darville Dep. 13:12-15:1. Plaintiff took the basketball to the recreation area, where he spent the

 next hour and a half shooting basketballs. Am. Compl., Ex. A.

        After shooting baskets, at approximately 3:30 p.m., Plaintiff was returning to his unit

 with the basketball when he was stopped by Corrections Officer David Harrell (“Harrell”). Am.

 Compl., Ex. A; Taylor Decl., Ex. C, Harrell Dep. 15:15-17:18. Harrell asked Plaintiff where he

 got the basketball and instructed Plaintiff to throw it over a fence into the recreation area. Taylor

 Decl., Ex. D, Pl.’s Dep. 29:2-7. Plaintiff informed Harrell that the basketball was from his unit,

 and attempted to explain that he had exchanged his ID for it. Am. Compl., Ex. A. Harrell

 replied, “you're a fucking liar” and stated that housing units do not have basketballs. Id.; Pl.’s

 Dep. 29:2-7. Harrell then took Plaintiff to Defendant Anderson’s office. Officer Harrell did not

 make physical contact with Plaintiff during the walk to the Lieutenant’s Office. Pl.’s Dep.

 31:15-25.

        Upon entering Defendant Anderson’s office, Harrell stated, “I have a problem with this

 inmate. He stole a basketball, disobeyed a direct order, and treated me disrespectfully.” Am.

 Compl., Ex. A; Pl.’s Dep. 34:8-12. At that point, Plaintiff concedes that he “interrupted and

 laughed” and asked Harrell if he was “going to flat out lie.” Compl., Ex. A; Pl.’s Dep. 34:21-22.

 Defendant Anderson then “flipped out” and the next thing Plaintiff knew, he was “getting

 tackled from behind.” Pl.’s Dep. 35:5-6. Lieutenant Anderson instructed some unknown

 officers to handcuff Plaintiff and remove him from the office. Id. at 36:11-20, 72:16-19.

        At that point, Plaintiff felt hands grab him. Pl.’s Dep. 37:5-12. He described feeling a

 “violent tug, a violent pull,” and that “they kind of tugged” at a leather pouch he wore around his

 neck and at his shirt. Id. at 37:15-19. Plaintiff was taken out of the room and into the hallway,

 where they “threw [him] against the cinderblock wall” and handcuffed him. Id. at 38:2-15.



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 Plaintiff was pushed into the wall head and shoulder first, then “kick[ed] a little bit or push[ed],”

 and felt his “whole body . . . being pressed up against the wall.” Id. at 39:9-18. Plaintiff was

 never punched or taken to the floor. Id. at 41:22—42:4. Lieutenant Anderson then screamed at

 Plaintiff about disrespecting him and told Plaintiff that he was going to “ruin your whole

 weekend.” Id. at 40:12-25.

         According to Lieutenant Anderson, while in the office, Plaintiff was belligerent and

 talking while Anderson was speaking. Anderson Dep. at 11:21-24. Anderson testified that

 Plaintiff was not calm and was “moving around so [Anderson] restrained [Plaintiff].” Id. at 12:1.

 Lieutenant Anderson stated that he was the one who handcuffed Plaintiff. Anderson further

 stated that Plaintiff “was really combative” and “wouldn’t listen to anything [Anderson] was

 saying,” but that Plaintiff did calm down after being restrained. Id. at 14:9-12. According to

 Lieutenant Anderson, he was the only one who physically touched Plaintiff. Id. at 28:20-23.

         Plaintiff suffered “abrasions on [his] nose, cheek and knee...cut [his] inside lower

 lip...[and his] right shoulder was in excruciating pain.” Compl., Ex. A. Plaintiff attempted to go

 to medical the next day, but because no medical services are offered on the weekends, he did not

 receive care for his injuries. Id.

 II.     LEGAL STANDARD

         Summary judgment is appropriate where the Court is satisfied that “there is no genuine

 dispute as to any material fact and that the movant is entitled to judgment as a matter of law.”

 Fed.R.Civ.P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 330 (1986). A genuine dispute of

 material fact exists only if the evidence is such that a reasonable jury could find for the

 nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). When the Court




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 weighs the evidence presented by the parties, “[t]he evidence of the non-movant is to be

 believed, and all justifiable inferences are to be drawn in his favor.” Id. at 255.

        The burden of establishing the nonexistence of a “genuine issue” is on the party moving

 for summary judgment. Aman v. Cort Furniture Rental Corp., 85 F.3d 1074, 1080 (3d Cir.1996).

 The moving party may satisfy its burden either by “produc[ing] evidence showing the absence of

 a genuine issue of material fact” or by ‘showing’—that is, pointing out to the district court—that

 there is an absence of evidence to support the nonmoving party’s case.” Celotex, 477 U.S. at 325.

 If the party seeking summary judgment makes this showing, it is left to the nonmoving party to

 “do more than simply show that there is some metaphysical doubt as to the material facts.”

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89

 L.Ed.2d 538 (1986). Rather, to survive summary judgment, the nonmoving party must “make a

 showing sufficient to establish the existence of [every] element essential to that party's case, and

 on which that party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322. Furthermore,

 “[w]hen opposing summary judgment, the nonmovant may not rest upon mere allegations, but

 rather must ‘identify those facts of record which would contradict the facts identified by the

 movant.’” Corliss v. Varner, 247 F. App'x. 353, 354 (3d Cir. Sept.17, 2007) (quoting Port Auth.

 of N.Y. and N.J. v. Affiliated FM Ins. Co., 311 F.3d 226, 233 (3d Cir.2002)).

        In deciding the merits of a party's motion for summary judgment, the Court's role is not to

 evaluate the evidence and decide the truth of the matter, but to determine whether there is a

 genuine issue for trial. Anderson, 477 U.S. at 249. Credibility determinations are the province of

 the fact finder, not the district court. Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d

 1358, 1363 (3d Cir.1992).




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 III.   DISCUSSION

        Defendants argue that Lieutenant Anderson is entitled to qualified immunity because

 Plaintiff cannot establish a violation of his constitutional rights. Specifically, Defendants assert

 that the force applied to Plaintiff was de minimis and there is no evidence of wrongful intent. As

 such, Defendants argue, Plaintiff cannot establish a violation of his Eighth Amendment rights.

 Defendants further argue that the same analysis applicable to the Eighth Amendment claim

 applies to Plaintiff’s state-law and FTCA claims and that the United States is entitled to

 judgment on that claim as well. The Court addresses Plaintiff’s claims in turn.

        A. Eighth Amendment Claim Against Lt. Anderson

        Defendants argue that any force employed against Plaintiff was de minimis and did not

 rise to the level of an Eighth Amendment violation. They further assert that there is no evidence

 of wrongful intent. Defendants therefore contend that Lieutenant Anderson is entitled to

 qualified immunity because Plaintiff cannot establish that Anderson violated his clearly

 established constitutional rights.

            1. Excessive Force Standard

        The use of excessive force against a prisoner may violate the Eighth Amendment's

 prohibition against cruel and unusual punishment. Wilkins v. Gaddy, 559 U.S. 34, 34 (2010) (per

 curiam); Hudson v. McMillian, 503 U.S. 1, 4 (1992). “The test for whether a claim of excessive

 force is constitutionally actionable is ‘whether force was applied in a good faith effort to

 maintain or restore discipline or maliciously and sadistically for the very purpose of causing

 harm.’” Giles v. Kearney, 571 F.3d 318, 326 (3d Cir.2009) (quoting Whitley v. Albers, 475 U.S.

 312, 319, 106 S.Ct. 1078, 89 L.Ed.2d 251 (1986)). The district court should consider: (1) the

 need for the force; (2) how much force was used in relation to the need; (3) the extent of the



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 inflicted injury; (4) the extent of the safety threat, as reasonably perceived by the responsible

 officials on the basis of the facts they knew; and (5) efforts made to ameliorate the severity of a

 forceful response. Id. (citing Whitley, 475 U.S. at 319).

            2. Qualified Immunity

        Under the doctrine of qualified immunity, “government officials performing discretionary

 functions generally are shielded from liability for civil damages insofar as their conduct does not

 violate clearly established statutory or constitutional rights of which a reasonable person would

 have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Put differently, “immunity

 protects “‘all but the plainly incompetent or those who knowingly violate the law.’” White v.

 Pauly, ––– U.S. ––––, 137 S.Ct. 548, 551, 196 L.Ed.2d 463 (2017) (citing Mullenix v. Luna, –––

 U.S. ––––, 136 S.Ct. 305, 308, 193 L.Ed.2d 255 (2015)).

        The Third Circuit uses a two-prong inquiry to determine whether a government official is

 entitled to qualified immunity. Pollock v. The City of Phila., 403 Fed. App'x 664, 669 (3d Cir.

 2010) (citing Pearson v. Callahan, 555 U.S. 223 (2009)). The first prong requires a court to

 “decide whether the facts . . . make out a violation of a constitutional right.” Id. (quoting

 Pearson, 555 U.S. at 232). Under the second prong, a court must “decide whether the right at

 issue was ‘clearly established’ at the time of [the] defendant’s alleged misconduct.” Id. (quoting

 Pearson, 555 U.S. at 232) (internal quotation marks omitted). Courts are permitted to use

 discretion as to which prong to apply first. Giles v. Kearney, 571 F.3d 318, 325 (3d Cir. 2009)

 (citing Pearson, 555 U.S. at 232).

        On summary judgment, qualified immunity is a question of law, but disputed issues of

 material fact will preclude finding qualified immunity. Id. at 327 (reversing district court for

 finding qualified immunity in excessive force case where “such a legal conclusion ... rests on a



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 factual presumption that is inappropriate on summary judgment”); Curley v. Klem, 298 F.3d 271,

 278 (3d Cir. 2002) (“a decision on qualified immunity will be premature when there are

 unresolved disputes of historical fact relevant to the immunity analysis.”).

            3. Analysis

        Plaintiff alleges that Lieutenant Anderson instructed unknown officers to handcuff him or

 “get [Plaintiff] out of here,” at which point he felt hands grab him. Pl.’s Dep. 37:5-12. He

 described feeling a “violent tug, a violent pull,” and that “they kind of tugged” at a leather pouch

 he wore around his neck and at his shirt. Id. at 37:15-19. Plaintiff was taken out of the room and

 into the hallway, where they “threw [him] against the cinderblock wall” and handcuffed him. Id.

 at 38:2-15. Plaintiff was pushed into the wall head and shoulder first, then “kick[ed] a little bit

 or push[ed],” and felt his “whole body . . . being pressed up against the wall.” Id. at 39:9-18.

 Plaintiff was never punched or taken to the floor. Id. at 41:22—42:4. The only instruction

 Lieutenant Anderson gave was to handcuff Plaintiff or to get him out of his office; he gave no

 further instructions for people to “lay hands” on Plaintiff. Id. at 72:16-23.

        Lieutenant Anderson’s version of events differs from that of Plaintiff. According to

 Lieutenant Anderson, Plaintiff was belligerent and talking while the Lieutenant was talking.

 Anderson Dep. at 11:21-24. Anderson testified that Plaintiff was “moving around so [Anderson]

 restrained [Plaintiff].” Id. at 12:1. In other words, Lieutenant Anderson recalls that he was the

 one who handcuffed Plaintiff. Anderson further stated that Plaintiff “was really combative” and

 “wouldn’t listen to anything [Anderson] was saying,” but that Plaintiff did calm down after being

 restrained. Id. at 14:9-12. According to Lieutenant Anderson, he was the only one who

 physically touched Plaintiff. Id. at 28:20-23.




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        Though there is a dispute regarding these facts, the Court finds that the dispute is not one

 of a material fact. An issue is “material” to the dispute if it could alter the outcome of the case

 under the governing law. See Liberty Lobby, Inc., 477 U.S. at 248 (“Only disputes over facts

 that might affect the outcome of the suit under the governing law will properly preclude the entry

 of summary judgment.”). As discussed below, the Court concludes that under either version of

 events, the evidence is insufficient to support Plaintiff’s Eighth Amendment claim.

        Defendants assert that, viewing the facts in the light most favorable to Plaintiff, the force

 exerted against Plaintiff was de minimis. The Court agrees. As discussed above, prison

 officials’ use of excessive force may violate the Eighth Amendment. However, not “every

 malevolent touch gives rise to a federal cause of action.” Hudson, 503 U.S. at 9. If the use of

 force is de minimis, there is no Eighth Amendment violation, unless the use of force is

 “repugnant to the conscience of mankind.” Id. at 9–10 (citation omitted); see also Wilkins, 559

 U.S. at 37-38; Brooks v. Kyler, 204 F.3d 102, 107 (3d Cir. 2000). Thus, even where force may

 have been used unnecessarily, an Eighth Amendment claim may not succeed if “no reasonable

 jury could find that the de minimis force utilized . . . was of a sort repugnant to the conscience of

 mankind in violation of the Eighth Amendment.” Washam v. Klopotoski, 403 F. App'x 636, 640

 (3d Cir. 2010) (internal quotations omitted).

        The force Plaintiff alleges – being “violently” grabbed and pulled, shoved and pressed

 against a wall, and handcuffed – does not rise to the level of a constitutional violation because it

 was not the kind of force that is repugnant to the conscience of mankind. See e.g., Washam, 403

 F. App'x at 640 (force was de minimis where officer knocked books out of plaintiff’s hands,

 slammed him to the ground, and handcuffed him); see also Taylor v. Sanders, 536 F. App'x 200,

 202 (3d Cir. 2013) (finding that plaintiff’s claim that he was pushed and punched in the back was



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 not repugnant to the conscience and did not amount to a constitutional claim); Carson v.

 Mulvihill, 488 F. App'x 554, 562 (3d Cir. 2012) (finding that plaintiff’s allegations that officer

 pushed his wheelchair rapidly and harshly through his cell door, causing him to fall sharply onto

 his bed inside the door amounted to, “at most, a malevolent shove” that did not rise to the level

 of a constitutional violation). Here, because the force employed against Plaintiff was de minimis,

 he cannot make out a claim for an Eighth Amendment Violation.

        Moreover, Plaintiff’s account fails to establish a constitutional violation for an additional

 reason which is related to the analysis of his claims under Lieutenant Anderson’s version of the

 facts. Plaintiff alleges that Lieutenant Anderson ordered other officers either to handcuff

 Plaintiff or to “get him out of” the office. Plaintiff specifically states that Lieutenant Anderson

 did not physically touch him and that Anderson gave no other instructions or orders regarding

 physical contact with Plaintiff. Under Plaintiff’s version of events, Lieutenant Anderson cannot

 be liable for employing excessive force against Plaintiff because Plaintiff does not allege that

 Anderson used any force against him, or that he ordered other officers to subject Plaintiff to

 excessive force.

        “In order for liability to attach under [Bivens], a plaintiff must show that a defendant was

 personally involved in the deprivation of his federal rights.” Fears v. Beard, 532 F. App'x 78, 81

 (3d Cir. 2013) (per curiam) (citing Rode v. Dellaciprete, 845 F.2d 1195, 1207 (3d Cir.1988)).

 “[L]iability cannot be predicated solely on the operation of respondeat superior. Personal

 involvement can be shown through allegations of personal direction or of actual knowledge and

 acquiescence.” Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir.2005) (citation omitted). Here,

 Plaintiff cannot establish that Lieutenant Anderson was personally involved in a violation of his

 federal rights. First, as discussed above, the force to which Plaintiff was subjected was de



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 minimis and insufficient to make out a claim for a constitutional violation. Second, under

 Plaintiff’s version of events, Lieutenant Anderson did not employ excessive force against

 Plaintiff because he never physically touched him. Nor did Lieutenant Anderson direct his

 subordinates to employ excessive force because, according to Plaintiff, he instructed them only

 to “handcuff” Plaintiff or to “get him out of” the office. Finally, Lieutenant Anderson cannot be

 found to have acquiesced in his subordinates use of excessive force when the force used cannot

 be found to have been excessive. As such, there is no basis for Plaintiff’s claim that Lieutenant

 Anderson’s personally violated Plaintiff’s constitutional rights.

        Given this analysis, viewing the facts in the light most favorable to Plaintiff actually may

 require analyzing the facts as recounted by Lieutenant Anderson. Under Anderson’s account, he

 was personally involved in at least whatever force was used to handcuff Plaintiff, therefore

 overcoming the proscription for claims based on respondeat superior or the hurdles of

 supervisory claims. However, that force also does not rise to the level of constitutionally

 violative excessive force. That being the case, whether the jury accepted Plaintiff’s version of

 events or that of Lieutenant Anderson, a reasonable jury could not find that Anderson violated

 Plaintiff’s constitutional rights. Thus, as discussed above, this disputed fact—i.e., who it was

 that physically engaged and handcuffed Plaintiff—is not material to the outcome of this case and

 is not enough to withstand summary judgment. For all of these reasons, the record does not

 establish that Lieutenant Anderson violated Plaintiff’s clearly established constitutional rights

 and he is therefore entitled to qualified immunity. Accordingly, summary judgment will be

 granted on Plaintiff’s Eighth Amendment claim against Lieutenant Anderson.




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          B. Federal Tort Claims Act

          Pursuant to the FTCA, Plaintiff brings a state-law assault and battery claim against the

 United States. Defendants argue that he United States is entitled to summary judgment on this

 claim because the failure of Plaintiff’s excessive force claim makes the FTCA claim

 unsustainable. The Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2401(b), 2671-80, “operates

 as a limited waiver of the United States' sovereign immunity.” White-Square v. U.S. Postal Serv.,

 592 F.3d 453, 456 (3d Cir. 2010). The FTCA allows claims against the United States for money

 damages

                 for injury or loss of property, or personal injury or death caused by the
                 negligent or wrongful act or omission of any employee of the Government
                 while acting within the scope of his office or employment, under
                 circumstances where the United States, if a private person, would be liable
                 to the claimant in accordance with the law of the place where the act or
                 omission occurred.

 28 U.S.C. § 1346(b)(1). Although the FTCA waiver of immunity generally does not apply to

 claims of assault, battery, false imprisonment, false arrest, and malicious prosecution, among

 other intentional torts, that rule is not applicable to investigative or law enforcement officers.

 Couden v. Duffy, 446 F.3d 483, 499 (3d Cir. 2006) (citing 28 U.S.C. § 2680(h)). As Defendant

 United States’ alleged misconduct occurred in New Jersey, New Jersey tort law applies to

 Plaintiff's claims under the FTCA. See Ciccarone v. United States, 486 F.2d 253, 257 (3d Cir.

 1973).

          Law enforcement officers, in New Jersey and elsewhere, hold a privilege to use

 reasonable force in the exercise of their duties even though, for a civilian or private citizen, that

 same physical contact or force would be considered battery. See Groman v. Twp. of Manalapan,

 47 F.3d 628, 634 (3d Cir. 1995) (“Police officers are privileged to commit a battery pursuant to a

 lawful arrest, but the privilege is negated by the use of excessive force.”); State v. Fowlkes, No.


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 A-3639-06T4, 2010 WL 86412, at *6 (N.J. Super. Ct. App. Div. Jan. 12, 2010) (corrections

 officers’ use of force is permitted by law when for the purpose of and to the extent necessary to

 further the officers’ responsibilities) (citing N.J. STAT. ANN. 2C:3-8). Indeed, “[u]nder New

 Jersey law, a law enforcement officer effecting a lawful arrest or search ‘may use such force as is

 reasonably necessary under the circumstances.’” Hanson v. United States, 712 F. Supp. 2d 321,

 329 (D.N.J. 2010) (citing Hill v. Algor, 85 F.Supp.2d 391, 411 (D.N.J. 2000) (citing State v.

 Williams, 148 A.2d 22, 29 (1959)).

        New Jersey’s application of the reasonably necessary standard, which aligns with the

 Fourth Amendment, has been determinative in New Jersey courts’ determinations of assault and

 battery claims against police officers. Id. at 330 (“Where a police officer uses excessive force in

 effectuating an arrest, that officer may be liable for assault and battery.”) (citation omitted); see

 also, Ptaszynski v. Ehiri, No. A-4349-04T5, 2006 WL 2346012, at *1 (N.J. Super. Ct. App. Div.

 Aug. 15, 2006) (concluding that the court’s dismissal of plaintiff’s § 1983 claims based on the

 objective reasonableness of the officers’ conduct disposed of plaintiff’s assault and battery

 claims as a matter of law). Similarly, “[t]hough not expressly addressed by the New Jersey

 courts, . . . New Jersey courts would look to the factors used to assess force under the Eighth

 Amendment when faced with a tort claim involving the use of force by a law enforcement officer

 against a prisoner.” Hanson, 712 F. Supp. 2d at 330. The Court discussed those factors above.

        Here, as discussed above, the force alleged to have been employed against Plaintiff was

 not excessive under the Eighth Amendment. In addition, Plaintiff has not alleged that Lieutenant

 Anderson, whose action he claims is the basis for his FTCA claim, see Pl.’s Opp. Br., Dkt. No.

 56, at 12, physically contacted him. Because the evidence does not sustain Plaintiff’s Bivens

 claim for excessive force, Plaintiff’s assault and battery claims must also fail. See Ptaszynski,



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 2006 WL 2346012, at *1. Accordingly, summary judgment will be granted on Plaintiff’s FTCA

 claim.

          C. John Doe Defendants

          Finally, the Complaint lists as Defendants Four John Does. Under Federal Rule of Civil

 Procedure 21, “the court may at any time, on just terms, add or drop a party.” A court may drop

 John Doe defendants under this rule. See Blakeslee v. Clinton County, 336 Fed. Appx. 248, 250

 (3d Cir. 2009); Adams v. City of Camden, 461 F.Supp.2d 263, 271 (D.N.J. 2006). Because

 discovery is now complete, because Plaintiff has failed to identify any John Doe Defendants, and

 because, as he acknowledges (Dkt. No. 56 at 5) he has not moved to amend the Complaint, the

 Court dismisses the Four John Does.

 IV.      CONCLUSION

          For the foregoing reasons, Defendants motion for summary judgment will be granted. An

 appropriate order will be entered.



 DATED: June 8, 2018
                                                             s/Robert B. Kugler
                                                             ROBERT B. KUGLER
                                                             United States District Judge




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